                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     DOCKET NOS. 3:12-CV-00856-FDW-DSC

UNITED STATES OF AMERICA, ex rel.   )
MICHAEL PAYNE, MELISSA CHURCH,      )
and GLORIA PRYOR, et al,            )
                                    )
           Plaintiffs,              )
                                    )
vs.                                 )
                                    )
ADVENTIST HEALTH SYSTEM-            )                                   ORDER
SUNBELT, INC., et al,               )
                                    )
           Defendants.              )
                                    )
___________________________________ )
                                    )
UNITED STATES OF AMERICA, and the   )
STATE OF NORTH CAROLINA, STATE      )
OF ILLINOIS, STATE OF FLORIDA, and  )
STATE OF TEXAS, ex rel. SHERRY      )
DORSEY,                             )
                                    )
           Plaintiffs,              )
                                    )
vs.                                 )
                                    )
ADVENTIST HEALTH SYSTEM-            )
SUNBELT HEALTHCARE CORPORATION, )
et al,                              )
                                    )
           Defendants.              )
___________________________________ )

       THIS MATTER is before the Court on the Plaintiffs’ Notice of Settlement (Doc.

No. 66), filed March 30, 2016. In that filing, Plaintiffs notified the Court that they had

“settled the issue of relator share with the United States and with the states.” (Doc. No. 66,


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p. 1). The filing further indicated the “Relators have no issues from the mediation

outstanding.” (Doc. No. 66, p. 2). When the Notice of Settlement was filed, the Court

issued a notice on the docket indicating “COURT NOTICE to the Parties: Agreement for

entry of judgment or a stipulation of dismissal to be filed within 30 days or the Court will

dismiss the case without prejudice.” To date, the parties have not filed a motion for entry

of judgment or stipulation of dismissal, and the thirty-day deadline for doing so has long

expired.

       IT IS THEREFORE ORDERED that pursuant to the parties’ notice of settlement,

this matter is dismissed without prejudice and shall be administratively closed. Should the

parties wish to administratively reopen this matter to file a motion for entry or judgment or

stipulation of dismissal, they should do so no later than fourteen (14) days from entry of

this order.

       IT IS SO ORDERED.

                       Signed: January 31, 2017




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